                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

  IN THE MATTER OF:                            )
  JAMES WILSON MCMEANS, JR.                    ) CASE NO. 18-82525-CRJ-12
                                               ) CHAPTER 12
  SSN XXX-XX-4589                              )
                                               )
  DEBTOR                                       )

                             TRUSTEE’S MOTION TO DISMISS

        COMES NOW, Michele T. Hatcher, the Trustee in the above styled case, and states:

        1. The Debtor filed for relief under Chapter 12 of the U.S. Bankruptcy Code on August
 24, 2018 and filed his Chapter 12 Plan on November 21, 2018.

         2. The schedules filed by the Debtor are incomplete. The Debtor failed to report his
 ownership interest in a 2007 Wilson hopper bottom trailer on Schedule A/B. The Debtor
 indicated at the § 341 meeting of creditors the estimated value of said asset is $20,000. Further,
 the Debtor scheduled an ownership interest in a 1966 Chevrolet truck; corn, wheat and soybean
 crops; and Farm and fishing supplies, chemicals and feed with reported values indicated as
 “Unknown”. The Trustee is unable to determine the amount of the Debtor’s non-exempt equity
 in said property based on the schedules as filed.

         3. The proposed Plan fails to address a scheduled secured debt owed to Farm Service
 Agency in the amount of $160,000. The Debtor further failed to describe the property securing
 said claim and reported the value of the undescribed property as “Unknown”. The Trustee is
 unable to make a recommendation regarding whether the Plan meets the Best Interest of Creditor
 Test pursuant to § 1225(a)(4) of the U.S. Bankruptcy Code based on the schedules as filed.

        4. The proposed Plan fails to address a scheduled secured debt owed to the United States
 Department of Agriculture in the secured amount of $60,000 and unsecured amount of
 $7,869.66.

         5. The proposed Plan fails to address the secured claim filed by Carrington Mortgage
 Services, LLC, designated as claim #10 by the Clerk’s Claim Register, specifically the pre
 petition arrears in the amount of $6,765.44 as reported in said claim. The Plan proposes a fixed
 monthly payment in the amount of $545.06 amortized over a period of two hundred and forty
 (240) months to be paid by the Trustee until paid in full. The Trustee is unable to determine if
 the Plan payment is sufficient to amortize the claim in full based on the current Plan.

        6. The proposed Plan fails to address the secured claim filed by Title Cash in the amount
 of $4,766.22, designated as claim #7 by the Clerk’s Claim Register. Further, the Debtor failed to
 schedule an ownership interest in the 2007 Ford F250 Super Duty truck securing said claim.




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        7. The secured claim filed by First Southern Financial, designated by the Clerk’s Claim
 Register as claim #13, reported the amount of the secured claim as both $10,610.87 and
 $10539.66. The Trustee is unable to administer the claim as filed.

        8. The Debtor failed to provide copies of government issued photo identification,
 evidence of his social security number and banks statements from deposit accounts located at
 Citizens Bank & Trust.

         9. The proposed Plan provides for the Debtor to remit to the Chapter 12 Trustee a
 monthly payment in the amount of $1,271.97 per month for payment of secured and priority
 claims and an annual payment in the amount of $15,120 for distribution to the unsecured
 creditors. The Debtor reports in his schedules and Plan a monthly expense for Car Payments in
 the amount of $800 and Fuel in the amount of $6,000 and the Trustee is unclear if these items are
 duplicated expenses. The Debtor reflects net annual income in the aggregate amount of
 $50,437.50 on Exhibit B of the Plan, subtracting the monthly proposed payments in the
 aggregate amount of $15,263.64 ($1271.97 x 12 months), an annual payment in the amount of
 $15,120, and the Debtor’s monthly living expenses as reported on Exhibit A in the amount of
 $50,280 (also subtracting the amount of $800 for Car Payments and $6000 for fuel) results in
 negative annual income in the amount of negative $30,226.14. Based upon this information, the
 Trustee alleges the Debtor’s proposed Chapter 12 Plan is not feasible and moves for dismissal of
 the case.

        10. The Trustee opposes the Plan provisions providing for the disbursement of secured
 claims by the Trustee as this imposes an undue hardship on the Trustee and is better
 accommodated through direct payments to the lender by the Debtor outside of the Plan.

        WHEREFORE, the Trustee moves that the subject case be dismissed.

 Done this 10th day of December, 2018.

                                             /s/Michele T. Hatcher
                                             Michele T. Hatcher, Chapter 12 Trustee
                                             P.O. Box 2382
                                             Decatur, AL. 35602
                                             (256) 350-0442




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                                 CERTIFICATE OF SERVICE

 I hereby certify that on December 10, 2018, I have served a copy of the foregoing on the parties
 listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the
 United States Bankruptcy Court for the Northern District of Alabama, service has been made by
 a “Notice of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4
 of the Court’s Administrative Procedures.

      James Wilson McMeans, Jr.
      205 Milton Rd
      Athens AL 35611

      Richard M. Blythe
      Assistant U.S. Bankruptcy Administrator
      Northern District, Northern Division of
      Alabama
      400 Well Street
      Decatur AL 35602


                                                            /s/Michele T. Hatcher
                                                            Michele T. Hatcher




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